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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                  Filed and Entered
                                                                                                      On Docket
                                                                                                  January 22, 2018


In re:
         Leigh Small
                                                                                            Case Number: 16−31683 amn
         Amy Small                                                                          Chapter: 7
                                               Debtor*




            ORDER GRANTING EXTENSION OF TIME TO FILE A COMPLAINT OBJECTING TO
                    DISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. § 523


       Neighborhood Housing Services of New Haven, Inc. (the "Movant"), filed a Motion for Extension of Time to
File a Complaint Objecting to Dischargeability of a Debt Pursuant to 11 U.S.C. § 523 (the "Motion", ECF No. 199).
 After notice and a hearing, see 11 U.S.C. § 102(1), and in compliance with the Court's Contested Matter Procedure, it
appearing that the relief in the Motion should be granted; it is hereby

      ORDERED: The time for Movant Neighborhood Housing Services of New Haven, Inc. to file a Complaint
pursuant to 11 U.S.C. § 523 is extended to April 30, 2018.




Dated: January 22, 2018                                                                   BY THE COURT




United States Bankruptcy Court                                                      Tel. (203) 773−2009
District of Connecticut                                                             VCIS* (866) 222−8029
157 Church Street, 18th Floor                                                       * Voice Case Information System
New Haven, CT 06510                                                                 http://www.ctb.uscourts.gov
                                                                                    Form 140 − es
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
